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 8                                      UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11        CHARLESETTA MOORE, SR.,                         No. 2:24-cv-02448-DAD-CSK (PS)
12                         Plaintiff,
13              v.                                        ORDER ADOPTING FINDINGS AND
                                                          RECOMMENDATIONS, DISMISSING THIS
14        CYRUS YOUSSEFI, et al.,                         ACTION, AND DENYING PLAINTIFF’S
                                                          MOTION TO PROCEED IN FORMA
15                         Defendants.                    PAUPERIS AS MOOT
16                                                        (Doc. Nos. 2, 4, 8)
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               Plaintiff Charlesetta Moore, Sr., proceeding pro se in this civil rights action. The matter
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      was referred to a United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local
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      Rule 302.
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               On March 28, 2025, the assigned magistrate judge issued findings and recommendations
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      recommending that plaintiff’s motion to proceed in forma pauperis (Doc. No. 2) be denied1 and
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      the plaintiff’s complaint be dismissed because the action is “facially frivolous and meritless.”
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      (Doc. No. 4 at 2–3.) Specifically, the magistrate judge concluded that plaintiff did not state a
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      basis for subject matter jurisdiction in her complaint, did not allege the citizenship of the parties,
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        The court notes that the assigned magistrate judge concluded that plaintiff’s motion was also
      deficient because plaintiff did not disclose the amount she receives in income. (Doc. No. 4 at 2.)
27    Plaintiff has subsequently filed a separate motion to proceed in forma pauperis in which she
      makes the required income disclosure. (Doc. No. 8 at 1.) Nevertheless, because the court will
28    dismiss plaintiff’s complaint, the court will deny this motion as moot as well.
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 1    and only alleged facts related to a small claims matter before a California court which involved

 2    purely state law issues. (Id. at 4–5.) The magistrate judge further found that, even if plaintiff’s

 3    complaint did provide a basis for subject matter jurisdiction, plaintiff alleges in her complaint

 4    only that the state court decision was erroneous and, accordingly, is presenting a de facto appeal

 5    from a state court ruling to this federal court which is barred by the Rooker-Feldman doctrine.

 6    (Id. at 5–6.) The magistrate judge concluded that, based on these deficiencies, granting leave to

 7    amend would be futile. (Id. at 7.)

 8            The pending findings and recommendations were served on the parties and contained

 9    notice that any objections thereto were to be filed within fourteen (14) days after service. (Id. at

10    8.) On May 6, 2025, plaintiff filed a notice of appeal of the pending findings and

11    recommendations which the undersigned construes as plaintiff’s objections to those findings and

12    recommendations. (Doc. No. 5.)

13            In her notice of appeal, plaintiff states that her case was “dismissed the same day I filed”

14    and that this denied her due process. (Id. at 1.) However, plaintiff filed her complaint on

15    September 9, 2024 while the pending findings and recommendations were not issued until March

16    28, 2025. (Doc. Nos. 1, 4.) In any event, this objection fails to provide any basis under the law

17    on which to reject the pending findings and recommendations.

18            In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), this court has conducted a

19    de novo review of the case. Having carefully reviewed the entire file, the court concludes that the

20    findings and recommendations are supported by the record and by proper analysis.
21            Accordingly,

22            1.     The findings and recommendations issued on March 28, 2025 (Doc. No. 4) are

23                   adopted in full;

24            2.     This action is dismissed without leave to amend;

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 1             3.      Plaintiff’s motions to proceed in forma pauperis (Doc. Nos. 2, 8) are denied as

 2                     moot;

 3             4.      The Clerk of the Court is directed to close this case.

 4             IT IS SO ORDERED.
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      Dated:        May 21, 2025
 6                                                         DALE A. DROZD
                                                           UNITED STATES DISTRICT JUDGE
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